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 8                               UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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12    WAYNE WEATHERSPOON, an                  Case No.: 2:21-cv-01951-RGK-AFM
13    individual,                             Hon. R. Gary Klausner
14                  Plaintiff,
                                              XXXXXXXXX ORDER FOR DISMISSAL
                                              [PROPOSED]
15        v.                                  WITH PREJUDICE [21]
16    BENON AND STANMAN
      SOUTHGATE PARTNERSHIP, a                Action Filed: March 3, 2021
17    general partnership; 2310 FIRESTONE     Trial Date: Not on Calendar
      BLVD. CARL’S JR., a business of
18    unknown form; and Does 1-10,
19                  Defendants.
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                        XXXXXXXX
                        [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
Case 2:21-cv-01951-RGK-AFM Document 22 Filed 05/04/21 Page 2 of 2 Page ID #:101
